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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Aaron Carlson Corporation,                           Case No. 19-cv-2828 (SRN/LIB)

               Plaintiff,
                                                                   ORDER
 v.

 Neal Cohen; Darren Chaffee, CoBe
 Equities, LLC; CoBe Capital, LLC; LSI of
 America Holdings, LLC; LinCourt, LLC;
 Harvey Berk; CoBe Management, LLC; &
 Cocha Finance, LLC

               Defendants.


Aaron Carlson Corporation, Pro Se, Plaintiff.

Lauren Hoglund, Terrance J. Wagener, and Joseph W. Lawver, Messerli & Kramer P.A.,
100 South Fifth Street, Suite 1400, Minneapolis MN 55402, for Defendants.


SUSAN RICHARD NELSON, United States District Judge

       This matter comes before the Court sua sponte in light of Magistrate Judge Brisbois’

Order dated June 3, 2020 ((“June 3 Order”) [Doc. No. 38]), and Defendant Harvey Berk’s

(“Berk”) and Defendants CoBe Equities, LLC, CoBe Capital, LLC, LinCourt, LLC, and

Cocha Finance, LLC’s (collectively, the “Entities”) separate motions to dismiss Plaintiff’s

amended complaint for lack of personal jurisdiction and failure to state a claim pursuant to

Federal Rule of Civil Procedure 12(b)(2) and 12(b)(6) ((“Defendants’ Motions to Dismiss”)

[Doc. Nos. 14, 24]) .

       Berk and the Entities filed their motions, respectively, on February 5, 2020, and March


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26, 2020. [Doc. Nos. 14, 24.] Subsequently, on June 1, 2020, Plaintiff, jointly with its

counsel, sought permission to withdraw the Schwartz Law Firm from representing Plaintiff

in this matter. ((“Motion to Withdraw”) [Doc. No. 34].) On June 3, 2020, Magistrate Judge

Brisbois granted the Motion to Withdraw and gave Plaintiff 30 days from the date of the Order

to retain substitute counsel to make a formal appearance of record. (June 3 Order at 2.)

       Presently, Judge Brisbois’ thirty-day deadline has expired, and no appearance has been

filed by substitute counsel on behalf of Plaintiff. As Judge Brisbois noted in his Order,

Plaintiff cannot proceed pro se in this action because it is a corporate entity. (Id. at 2 n.1)

(citing Carr Enters., Inc. v. United States, 698 F.2d 952, 953 (8th Cir. 1983) (“It is well settled

law that a corporation may be represented only by licensed counsel”); S.E.C. v. Lawton, No.

9-cv-368 (ADM/AJB), 2011 WL 1467742, at *1 (D. Minn. Apr. 18, 2011) aff’d, 449 F. App’x

555 (8th Cir. 2012)). Because Plaintiff has failed to retain new counsel, the Court will dismiss

its claims against Defendants without prejudice. See, e.g., Master Craft v. Stanley Works, No.

04-cv-132 (JMR/JSM), 2006 WL 8438190, at *2 (D. Minn. Apr. 27, 2006) (noting that

“failure to obtain licensed counsel may result in dismissal of [corporation’s] claims against

defendants”) (internal quotation omitted).

       Accordingly, the Court denies Defendants’ Motions to Dismiss as moot.




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   I.        ORDER

        Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

        1.    Defendants’ Motions to Dismiss for lack of personal jurisdiction and failure
              to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(2) and
              12(b)(6) [Doc. Nos. 14, 24] are DENIED as moot.

        2.    The case is dismissed WITHOUT PREJUDICE.

LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: July 7, 2020                             s/Susan Richard Nelson
                                                SUSAN RICHARD NELSON
                                                United States District Judge




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